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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  ) CRIMINAL ACTION NO.
    v.                            )  2:07cr222-MHT
                                  )      (WO)
COURTNEY D. FLOWERS               )

                        OPINION AND ORDER

    This cause is before the court on defendant Courtney

D. Flowers’s motion to continue.              For the reasons set

forth below, the court finds that jury selection and

trial,   now   set    for   September      22,    2008,    should      be

continued.

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.      The Act provides in part:

         "In any case in which a plea of not
         guilty is entered, the trial of a
         defendant charged in an information or
         indictment with the commission of an
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          offense shall commence within seventy
          days from the filing date (and making
          public)    of   the    information    or
          indictment, or from the date the
          defendant has appeared before a judicial
          officer of the court in which such
          charge is pending, whichever date last
          occurs."

§ 3161(c)(1).       The Act excludes from the 70-day period

any continuance based on “findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial.”       §     3161(h)(8)(A).         In    granting      such     a

continuance, the court may consider, among other factors,

whether the failure to grant the continuance “would deny

counsel   for     the   defendant     or   the   attorney     for      the

Government the reasonable time necessary for effective

preparation, taking into account the exercise of due

diligence.”       § 3161(h)(8)(B)(iv).

    The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Flowers in a speedy trial.

The additional time will allow Flowers to dispose of his

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pending criminal charges in state court, freeing his

counsel to prepare for the above-captioned case.                       In

addition,    one   of   Flowers’s     codefendants       has   already

disposed of his case in state court.                  Moreover, the

government does not oppose the continuance.

    Accordingly, it is ORDERED as follows:

    (1)     Defendant    Courtney      Flowers’s      motion    for     a

continuance (doc. no. 83) is granted.

    (2) Defendant Flowers’s jury selection and trial, now

set for September 22, 2008, are reset for January 5,

2009, at 10:00 a.m., in Courtroom 2FMJ of the Frank M.

Johnson Jr. United States Courthouse Complex, One Church

Street, Montgomery, Alabama.

    DONE, this the 18th day of September, 2008.


                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
